Case 4:20-cv-00079-BMM Document 38-7 Filed 10/14/20 Page 1 of 7




                 EXHIBIT G
         Case
          Case1:20-cv-06516-VM
               1:20-cv-06516-VM Document
                                 Document54-1
                                          57 Filed
                                              Filed09/25/20
                                                    09/25/20 Page
                                                              Page11ofof66
        Case 4:20-cv-00079-BMM Document 38-7 Filed 10/14/20 Page 2 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                         9/25/2020


MONDAIRE JONES, et al.,                                         No. 20 Civ. 6516 (VM)

                                  Plaintiffs,
                                                                [PROPOSED] ORDER
         - against -

UNITED STATES POSTAL SERVICE, et al.,

                                  Defendants.



VICTOR MARRERO, United States District Judge:

       WHEREAS, Plaintiffs brought this case challenging certain policies and practices of the

United States Postal Service (“USPS”) under the First and Fifth Amendments to the United

States Constitution;

       WHEREAS, on September 2, 2020, Plaintiffs moved the Court for a preliminary

injunction;

       WHEREAS, on September 16, 2020, the Court conducted a hearing on Plaintiffs’ motion,

during which the Court took testimony and heard oral argument;

       WHEREAS, on September 21, 2020, the Court issued a Decision and Order (the “PI

Decision,” ECF No. 49) granting Plaintiffs’ motion in part, and directing the parties to make

efforts to settle and submit an Order providing Plaintiffs with relief consistent with the PI

Decision;

       WHEREAS, on September 21, 2020, USPS issued a memorandum entitled “Clarifying

Operational Instructions” (the “September 21 USPS Instructions,” attached hereto as Exhibit A)

to all Officers, Postal Career Executive Service (PCES) managers, and Pay Band (Management

and Technical Pay Band) employees, with instructions to share the memorandum with their


                                                  1
         Case
          Case1:20-cv-06516-VM
               1:20-cv-06516-VM Document
                                 Document54-1
                                          57 Filed
                                              Filed09/25/20
                                                    09/25/20 Page
                                                              Page22ofof66
        Case 4:20-cv-00079-BMM Document 38-7 Filed 10/14/20 Page 3 of 7



Executive and Administrative Schedule (EAS) employees, which, among other things, noted that

“[f]urther guidance on use of additional resources [to facilitate the handling and timely delivery

of Election Mail] will be provided separately”;

       WHEREAS, the parties have conferred and have reached agreements consistent with the

PI Decision, as reflected herein;

       WHEREAS, the parties propose that the Court so-order the agreements reflected herein;

       WHEREAS, for purposes of this Order, the term “Election Mail” shall refer to any item

mailed to or from authorized election officials that enables citizens to participate in the voting

process, including voter registration materials, absentee or mail-in ballot applications, polling

place notifications, blank ballots, and completed ballots;

       NOW, THEREFORE, upon the parties’ agreement, IT IS HEREBY ORDERED that:

       1.      USPS shall, to the extent that excess capacity permits, treat all Election Mail as

First-Class Mail or Priority Mail Express.

            a. Specifically, USPS shall prioritize identifiable Election Mail that is entered as

               Marketing Mail, regardless of the paid class, including advancing Election Mail

               entered as Marketing Mail ahead of other Marketing Mail and processing it

               expeditiously so that it is generally delivered in line with the First-Class Mail

               delivery standards; expanding processing windows on letter and flat sorting

               equipment to ensure that all Election Mail received prior to the First-Class Mail

               Critical Entry Time is processed that same day; and prioritizing Election Mail,

               including ballots entered with Green Tag 191, when loading trucks.

            b. This paragraph (Paragraph 1) shall not be construed to require USPS to change its

               policies that generally do not include the transportation of Election Mail entered




                                                  2
         Case
          Case1:20-cv-06516-VM
               1:20-cv-06516-VM Document
                                 Document54-1
                                          57 Filed
                                              Filed09/25/20
                                                    09/25/20 Page
                                                              Page33ofof66
        Case 4:20-cv-00079-BMM Document 38-7 Filed 10/14/20 Page 4 of 7



               as Marketing Mail by air; or to extend other features of First-Class Mail, distinct

               from delivery speed, to Election Mail entered as Marketing Mail. However,

               USPS will employ special individualized measures to expedite handling of

               individual voter ballots mailed close to Election Day, regardless of paid class,

               which may include manually separating them and moving them by air or

               according to Priority Mail Express delivery speed standards, consistent with

               practices used in past elections.

       2.      To the extent it has not already done so, no later than September 25, 2020, USPS

shall provide to this Court and Plaintiffs a cost estimate for treating all Election Mail, as defined

herein, as First-Class Mail beginning on October 15, 2020.

       3.      USPS shall pre-approve all overtime that has been or will be requested for the

time period beginning October 26, 2020 and continuing through November 6, 2020.

       4.      No later than October 1, 2020, USPS shall submit to the Court a list of steps

necessary to restore First-Class Mail and Marketing Mail on-time delivery scores to the highest

score each respective class of mail has received in 2020, which are 93.88 percent for First-Class

Mail and 93.69 percent for Marketing Mail, and shall thereafter make a good faith effort to fully

implement the listed steps.

       5.      To the extent it has not already done so, no later than September 25, 2020, USPS

shall submit to the Court a list of all USPS recommended practices concerning the treatment of

Election Mail that are not binding policies.




                                                   3
         Case
          Case1:20-cv-06516-VM
               1:20-cv-06516-VM Document
                                 Document54-1
                                          57 Filed
                                              Filed09/25/20
                                                    09/25/20 Page
                                                              Page44ofof66
        Case 4:20-cv-00079-BMM Document 38-7 Filed 10/14/20 Page 5 of 7



       6.      USPS shall provide this Court and Plaintiffs with a weekly update, to be provided

every Friday1, that includes:

            a. The same weekly update USPS is providing Congress, with respect to USPS’s

               Market-Dominant products (First-Class Mail, Marketing Mail, and Periodicals);

            b. Separate, unmerged 2-day and 3-5 day weekly service reports for both pre-sort

               and single-piece First-Class Mail, and variance reports;

            c. A summary, not to exceed 10 pages in length, of any and all data and information

               collected by USPS Headquarters regarding USPS’s handling of Election Mail at

               the Headquarters level and compliance with the USPS policies regarding Election

               Mail, USPS recommended practices regarding Election Mail, and the terms of this

               Order specifically pertaining to Election Mail.

       7.      No later than September 29, 2020, USPS shall submit to the Court and Plaintiffs a

proposed Supplemental Guidance Document, to be distributed to all USPS managerial staff. The

September 21 USPS Instructions, the forthcoming further guidance on the use of additional

resources, and the proposed Supplemental Guidance Document shall together, in clear terms and

with the aid of examples:

            a. Identify and explain all USPS policy requirements concerning the treatment of

               Election Mail;

            b. Identify and explain all USPS recommended practices concerning the treatment of

               Election Mail;

            c. Reemphasize that late and extra trips are not banned, and clarify that pre-approval


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         The parties agree that on Friday, September 25, 2020, USPS will provide the
information described in Paragraphs 6(a) and 6(b), but not the variance reports described in
Paragraph 6(b) or the information described in Paragraph 6(c), herein.


                                                4
         Case
          Case1:20-cv-06516-VM
               1:20-cv-06516-VM Document
                                 Document54-1
                                          57 Filed
                                              Filed09/25/20
                                                    09/25/20 Page
                                                              Page55ofof66
        Case 4:20-cv-00079-BMM Document 38-7 Filed 10/14/20 Page 6 of 7



               is not needed for late and extra trips and that authorizing late and extra trips

               through November 6, 2020, will not result in disciplinary action;

            d. Reemphasize that USPS commits to, authorizes, and encourages the use of any

               late and extra trips that would facilitate the timely delivery of Election Mail;

            e. Explain that USPS shall prioritize Election Mail as described in Paragraph 1 of

               this Order;

            f. Explain that USPS has pre-approved all overtime that has been or will be

               requested for the time period beginning October 26, 2020 and continuing through

               November 6, 2020;

            g. Direct managers to explain to each of their direct reports the policies and practices

               described in the Supplemental Guidance Document that are relevant to each direct

               report, taking into account their individual responsibilities;

            h. Provide contact information for persons available to answer questions concerning

               the Supplemental Guidance Document; and

            i. Provide contact information for persons responsible for tracking and responding to

               reports of violations of USPS policies and recommended practices concerning the

               treatment of Election Mail and direct personnel to contact this person in the event

               of any such violation.

       8.       No later than October 1, 2020, Plaintiffs shall submit any comments concerning

the Supplemental Guidance Document to this Court. Plaintiffs shall attach a copy of

Defendants’ proposed Supplemental Guidance Document containing any of Plaintiffs’ suggested

edits in track changes.

       9.       Within 7 days of the date of an Order of this Court approving the Supplemental

Guidance Document, USPS shall certify to this Court whether all USPS managerial staff


                                                  5
          Case
           Case1:20-cv-06516-VM
                1:20-cv-06516-VM Document
                                  Document54-1
                                           57 Filed
                                               Filed09/25/20
                                                     09/25/20 Page
                                                               Page66ofof66
         Case 4:20-cv-00079-BMM Document 38-7 Filed 10/14/20 Page 7 of 7



members have certified that they have read, reviewed, and understand the Supplemental

Guidance Document; to the extent any managerial staff member has not yet certified that they

have read, reviewed, and understand the Supplemental Guidance Document, USPS shall

describe each attempt it has made to contact the relevant managerial staff member.

         10.   Paragraphs 3 and 7(f) of this Order are hereby stayed pending an order of this

Court resolving Defendants' forthcoming Motion to Modify, Clarify, or, Alternatively, Stay this

Order.




  9/25/2020




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